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                                                          UNITED STATES DISTRICT
                                                          COURT SOUTHERN DISTRICT OF
                                                          FLORIDA

                                                          MIAMI DIVISION

                                                          Case No.: 1:18-CV-24100-COOKE/
                                                          GOODMAN

   DIGNA VINAS,

            Plaintiff,

   vs.

  THE INDEPENDENT ORDER
  OF FORESTERS,

            Defendant.
                                               I

           PLAINTIFF’S MOTION TO AMEND THE SECOND AMENDED
         COMPLAINT BY INTERLINEATION TO CONFORM TO EVIDENCE

            Plaintiff, Digna Vinas, by and through her undersigned counsel, hereby requests leave

   to amend the second amended complaint (D.E. 94) by interlineation, to conform to evidence

   obtained during discovery, pursuant to S.D. Fla. L.R. 15.1. In support thereof, Vinas would

   state:

            1.      On July 23, 2020, and over strong objection, this Court granted Plaintiff leave

   to file a Second Amended Complaint alleging Fraud in the Inducement. (D.E. 90).

            2.      When the second amended complaint was filed, Plaintiff only referenced

   fraudulent representations made by Foresters in the policy itself. Accordingly, she alleged

   that “Foresters falsely and fraudulently represented, through language in the Policy and

   incorporated Florida law, that in the event Mr. Vinas were to die from a non-excluded cause

   within the first two years following issuance of the Policy, Foresters would pay benefits under
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   the Policy as long as Mr. Vinas answered the Application questions to his best knowledge and

   belief.” (D.E. 94, at ¶ 36).

          3.      As the Court is now considering a Motion to Dismiss, and discovery is almost

   at a close1, Plaintiff wishes to amend her complaint by interlineation to allege additional false

   representations (consistent with the representation in the Policy) which were actually revealed

   during discovery.

          4.      Specifically, recent testimony at Foresters’ deposition of Ms. Vinas confirmed

   that Foresters, through its sales agent, Jazmin Lightbourn, made oral representations to Mr.

   Vinas prior to the sale of the Policy, and explained how the incontestability clause worked.

   Foresters told Mr. Vinas that as long as he answered the Application questions truthfully, i.e.

   to his best knowledge and belief, Foresters would not deny the claim for an innocent factual

   misrepresentation or attempt to rescind the policy because of an innocent mistake. Plaintiff

   goes on to allege (already in the complaint) that these representations were knowingly false

   when made, were relied upon by Mr. Vinas and the other legal requirements for Fraud in the

   Inducement.

          5.      Accordingly, Plaintiff requests leave to amend her complaint by interlineation

   to add a single new paragraph “36a” reflecting Foresters’ additional representation, pre-sale

   by Foresters authorized representative, that a claim would not be denied or rescinded for

   errors on the Application, so long as Mr. Vinas answered the Application questions,

   truthfully, i.e. to the best of his knowledge and belief.




         By agreement, the parties have scheduled one additional deposition to occur to
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   accommodate both lawyers’ schedules.
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                                  MEMORANDUM OF LAW

          6.     Leave of Court should be freely granted to permit amendments to complaints

   when justice so requires. Fed. R. Civ. P. 15(a)(2). “In the absence of any apparent or declared

   reason—such as undue delay, bad faith or dilatory motive on the part of the movant, repeated

   failure to cure deficiencies by amendments previously allowed, undue prejudice to the

   opposing party [, or] futility of amendment [leave should be granted].” Foman v. Davis, 371

   U.S. 178, 182 (1962). The same rule applies to amendments by interlineation permitted with

   leave of court. See, e.g., Amorin v. Taishan Gypsum Co., Ltd., 11-22408-CIV, 2019 WL

   3409688, at *1 (S.D. Fla. May 20, 2019).

          7.     In the present case, Plaintiff is seeking to add a single paragraph that

   supplements the fraudulent statements made by Foresters prior to formation of the contract

   to induce Mr. Vinas to purchase the policy. The proposed additional paragraph will state:

                 36 a. Furthermore, at all times material hereto and prior to the
                 sale of the policy, Foresters, through its sales agent Jazmin
                 Lightbourn, explained how the contestability period worked and
                 represented that Foresters would not deny a claim or rescind the
                 policy for inaccuracies in the Application so long as Mr. Vinas
                 answered the Application questions truthfully, i.e. to his best
                 knowledge and belief.

          8.     This proposed amendment does not add any additional causes of action or

   theory of recovery. It simply includes in the Complaint, an additional allegation of a

   fraudulent statement already of record and fully explored in discovery. Specifically, Digna

   Vinas testified that during the sales presentation, Foresters’ representative explained that if

   Mr. Vinas were to die during the two-year contestability period, Foresters would investigate

   the accuracy of his responses on the application and as long as Mr. Vinas answered all of the

   questions on the application form truthfully, to his best knowledge and belief, Foresters would


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   not rescind the policy or deny his claim on that basis. (See Vinas Depo., p. 99 l. 4- p. 100, l.

   13 attached hereto as Exhibit “A”).

          9.     The amendment is also supported by the testimony of Foresters’ Chief

   Underwriting Officer Doug Parrott who expressly acknowledged that Foresters authorized its

   sales agents to make purportedly truthful representations regarding the contents of the policies

   they sell. (See Doug Parrott Depo., pp. 40-43 attached hereto as Exhibit “B”).

          10.    Accordingly, Plaintiff requests this Court for leave to amend the second

   amended complaint by interlineation as more fully set forth above.

          11.    There has been no undue delay because the depositions upon which the

   amendment is based have only occurred approximately a month ago. Foresters will not be

   prejudiced because this interlineation amendment does not raise any new claim, cause of

   action, or affect their case in any way. They are aware of the testimony upon which the

   amendment is based, and will be able to file responsive pleadings accordingly.

          12.    The amendment sought is grounded in Florida law and evidence developed

   during discovery and is not futile. This motion to amend is filed in good faith, and not for

   any dilatory purposes.

          WHEREFORE, Vinas requests leave of this Court to amend the Second Amended

   Complaint by interlineation, as more fully set forth above.

                                    S.D. Fla. L.R. 7.1(a)(3) Certificate

          Undersigned counsel certifies that counsel for Defendant has been contacted with

   respect to the relief requested herein and is authorized to represent Defendant does not

   consent.




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                                     CERTIFICATE OF SERVICE

            I HEREBY CERTIFY a true and correct copy of the foregoing has been electronically

   filed with the Court and a copy has been served on November 19, 2020 on: Kristina B. Pett,

   Esq. Kristina.pett@mhllp.com and Danielle Shure, Esq., Danielle.shure@mhllp.com,

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